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                         Testimony of


                      Richard Anderson
            President & Chief Executive Oﬃcer
         National Railroad Passenger Corporation




                           Before the
          United States House of Representatives
  House Committee on Transportation & Infrastructure


                The Cost of Doing Nothing:
Why Investing in our Nation’s Infrastructure Cannot Wait


           Thursday, February 7, 2019 9:30 a.m.

                             Amtrak
                   1 Massachusetts Avenue, N.W.
                       Washington, DC 20001
                          (202) 906-3918
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INTRODUCTION

Good morning, and thank you Chairman DeFazio, Ranking Member Graves, and all of the mem-
bers of this Committee for holding this important hearing to discuss the urgent need to invest
in our nation’s infrastructure.

My name is Richard Anderson, and I serve as the President and Chief Executive Oﬃcer
of Amtrak. I started as CEO in 2017 and prior to that I served as the CEO for Delta Air Lines, CEO
for Northwest Airlines, and the President of Commercial Business at United Health Group.
It is my pleasure to testify before you today on behalf of our 20,000 dedicated employees.

Today, I am going to discuss why we should not delay investment in intercity passenger rail
and the consequences if we do wait; I will describe some of the major infrastructure, equipment,
and stations projects Amtrak plans to advance over the next ﬁve years; and I will provide context
for why intercity passenger rail has a bright future if we make smart investments and decisions
as we prepare for the next generation.

THE COST OF DOING NOTHING

Unseen by many, and unconsidered by most, the structures and assets that make up America’s
infrastructure lie at the heart of our economy and enable every one of us to live our lives in safety
and comfort. Without our transportation, energy, and communication networks, we would not
enjoy the freedom and convenience to raise our families, conduct our businesses, and live our
lives as we do.

We owe a great debt to generations past for making signiﬁcant investments of time, talent,
and treasure to build these networks. Americans across the country are relying on Federal leaders
in Washington to help maintain and, where necessary, expand these networks to protect and im-
prove the nation’s economic and social health and our collective defense. Generations to come
are depending on us to be careful stewards of these assets.

As the American Society of Civil Engineers observed in its last report card, passenger rail service,
like nearly all modes of transportation, depends on some portion government funding for its
capital needs. As an asset-intensive industry with long-lived infrastructure, capital funding
is the key ingredient for reliable service and eﬀective networks. Yet, steady, reliable capital fund-
ing is precisely what America’s intercity passenger rail network does not have, and that
shortcoming is at the root of the problems I plan to cover in remarks today.

Without this sort of reliable funding over the five decades of Amtrak’s existence, significant portions
of our infrastructure, stations, and rolling stock have become outdated and aged beyond their useful
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lives. At the same time, the network’s assets are now being asked to accommodate far more traffic
than they were designed to handle, making it more difficult to ensure safe, reliable, on time service.

In an era where perpetual highway congestion and environmental concerns highlight rail’s com-
pelling advantages, we should be discussing the signiﬁcant upgrades to achieve speeds and levels
of service found around the world today. To do that, we need adequate and stable funding to ad-
dress our insuﬃcient and outdated passenger car ﬂeet and the railroad bridges, tunnels,
and supporting systems that date back to the 1930s, the 1910s, or even 1873 and are in clear need
of replacement.

Every day that goes by without a funded plan to address these projects brings us one day closer
to a having an irrelevant transportation system stymied by unreliable structures creating reduced
speeds and capacities, resulting in prolonged commute times and travel delays. These disruptions
will impose signiﬁcant costs – to individuals, to neighborhoods and cities, and to the nation – all
when the use of intercity passenger rail should be increasing across our country.

The Northeast Corridor (NEC) is a prime example of the beneﬁts of intercity passenger rail,
as well as illustrate why delayed investment can have a profoundly negative impact to the region.
The NEC rail network between Washington, D.C. and Boston, Massachusetts is an engine of eco-
nomic activity for the United States in the delivery of workers to jobs, businesses to clients, goods
to market, and people to their friends, family, and leisure activities. The NEC region is home
to more than 51 million people and four of the ten largest metropolitan areas in the country.
The NEC connects interdependent markets that collectively are a national and global force. Its
economy is the ﬁfth largest in the world, ahead of France and just behind Germany. Its commuter
rail and Amtrak intercity services provide 820,000 trips each day, moving a workforce that con-
tributes more than $50 billion annually to the national economy. Job density is even greater
around the NEC’s rail stations. Within one mile of the NEC stations, the average employment
density is 680 times higher than the U.S. average. Rail connections not only provide residents
of outlying communities with access to a broader range of jobs, but it also provides them with ac-
cess to better paying jobs. Commuter rail riders on the NEC earn, on average, approximately
twice the national average.

Passenger rail is a vital artery for this region. Amtrak carries more intercity passengers within
the Northeast than all airlines combined. Service disruptions on the NEC caused by infrastructure
failures, rail traﬃc congestion, and other factors already cost $500 million per year in lost produc-
tivity. Without higher levels of capital investment, those losses are likely to grow. An unexpected
loss of the NEC for one day alone could cost the nation nearly $100 million in transportation-
related impacts and productivity losses, roughly the daily economic output of cities like Winston-
Salem, North Carolina, Portland, Maine, or Boulder, Colorado. Expert analysis suggests that



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should the NEC not receive the necessary investments to accommodate anticipated growth
by 2025, the country will bear an annual $1.2 billion cost in additional costs for the highway
and aviation systems. If long-term, sustained, NEC investments are made, they will repay
us with an annual $8.2 billion gained by 2040 in savings for the highway and aviation systems.

All one needs to do is visit New York Penn Station, Chicago Union Station, or Los Angeles Union
Station at rush hour to see how infrastructure enables careers, fuels businesses, and fosters op-
portunity. Yet at the same time, we have seen how an infrastructure failure can dramatically
impact these major centers of economic activity. For example, a 2017 track failure in New York
Penn Station caused a low-speed derailment, and subsequent investigation led Amtrak to launch
a signiﬁcant work program. For decades, Amtrak has maintained and repaired this aging infra-
structure, some of which dates to the 1970s, while the demands placed on it have grown
signiﬁcantly. The 2017 examinations made it clear that full replacement was required. During
the summer of 2017, Amtrak kicked oﬀ its Infrastructure Renewal at New York Penn Station,
and continues it to this day. The Infrastructure Renewal program is one element of Amtrak’s plan
to modernize stations, infrastructure, and equipment on the NEC. I am proud to say Amtrak com-
pleted this work so far on schedule, on budget, and with no signiﬁcant injuries.

As important as the NEC is for Amtrak, the hub for our national network is Chicago, which is our
fourth busiest station, with 3.3 million boardings and alighting in FY2018. Eight of our 15 Long
Distance routes and nine of our 29 State-Supported routes start or end in Chicago. Combined,
this represents about 55 trains per day there and these trains carried 5.2 million people in FY2018.
These customers are dependent on the smooth functioning of our facilities in Chicago, whether
or not they actually travel in or out of the station.

Intercity passenger rail delivers many similar beneﬁts to cities outside of the NEC, too. Turning
to Chicago, where Amtrak has joined with the U.S. Department of Transportation (USDOT),
the State of Illinois, the City of Chicago, Metra, and the nation’s freight railroads to form a ﬁrst-
of-its-kind partnership: the Chicago Region Environmental and Transportation Eﬃciency
Program (CREATE). Since 2003, the CREATE Partners have worked to enhance the quality of life
for Chicago area residents and the economic health of the nation by investing in critically needed
improvements to improve the eﬃciency of the region’s commuter, passenger and freight rail in-
frastructure while mitigating community impacts. CREATE calls for $4.4 billion in infrastructure
investment that over a 30-year period will generate an estimated $31.5 billion in economic bene-
ﬁts. Some of these beneﬁts are already being realized with the projects constructed to date.

Further west, rail has become an increasingly integral part of California’s transportation system
and will play a key role in accommodating the required growth in the coming years. Amtrak




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operates more than 70 intercity passenger trains per day in California, serving 5.6 million board-
ings annually, up from 3.6 million a decade ago and now starting to approach our Northeast
Regional service passenger counts. Additionally, California commuter rail ridership, some
of which is operated by Amtrak, grew to nearly 33 million trips in 2016, up more than 50%
from 21.6 million trips a decade earlier. These rail services connect to California’s urban transit
systems, which provided 1.5 billion trips in 2014.

To gain a sense of the scope and importance of our state supported trains, it is worth remembering
that Amtrak partners with 21 agencies in 18 states to operate 29 state supported routes. In 2008,
Section 209 of PRIIA (spell out if necessary, depending on where this goes) required states to fund
all routes less than 750 miles in length using a single, jointly developed, standardized cost-sharing
methodology. This methodology became eﬀective in October 2013. Together, state supported
carry 15 million passengers annually, almost half of all our customers. This number has grown
by two-thirds over the last 20 years, and this growth shows every sign of continuing.

The trains that we operate under these agreements can be found across the country, from west
coast where you can ﬁnd the Cascades service in Oregon and Washington, and in California
the Capitol Corridor, Paciﬁc Surﬂiner, and San Joaquins. In the Midwest, Illinois and Wisconsin sup-
port the Hiawatha, Illinois and Missouri support the Lincoln Service, Illinois operates
the Carl Sandburg, Illini, Illinois Zephyr, and the Saluki, Indiana supports the Hoosier State,
Michigan supports the Blue Water, Pere Marquette, and Wolverine, and Missouri runs the Missouri
River Runner. Further south, Oklahoma and Texas combine to run the Heartland Flyer.

In the Northeast, the Downeaster runs from Maine down to Boston, Vermont and Massachusetts
support the Vermonter, Vermont and New York run the Ethan Allen Express, Massachusetts
and Connecticut cooperate on service to Springﬁeld, and New York operates the Adirondack,
Empire Service, and Maple Leaf. Moving south, Pennsylvania operates the Pennsylvanian
and the Keystone Corridor, Virginia supports trains that run from D.C. down to Newport News,
Norfolk, Richmond, and Roanoke. Finally, North Carolina supports both the Carolinian
and the Piedmont.

This growing network has seen recent extensions in Virginia and increased frequencies
in Connecticut, Maine, Massachusetts, and North Carolina. Additional growth in 2019 is planned
in California, Massachusetts, Oregon, Virginia, and Washington. A little further out, we anticipate
expanding in Illinois, Kansas, Oklahoma, Pennsylvania, Texas, Vermont, and Wisconsin, and re-
storing service to the Gulf Coast between Mobile and New Orleans.

Beyond that, there are numerous markets where either the introduction or expansion of service
makes sense and signiﬁcant local interest has been expressed. Examples include Coachella Valley,



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the Front Range, Illinois’s Quad Cities, the Twin Cities, Indiana, and south of Richmond
to Raleigh.

PLANNING FOR THE FUTURE

In addition to the infrastructure challenges discussed today, our transportation system is facing
unprecedented strains from several other important factors, including: population growth
and urbanization, changing travel habits and demand, technological disruption, limited capacity,
and network ineﬃciencies. Amtrak and intercity passenger rail can help, but to do so, Amtrak
must modernize our passenger equipment, update our products, and expand our network.
With a stronger foundation, we can provide more value to the nation.

If you look at today’s Amtrak route map, it looks eerily similar to the one created in 1971. Yet, this
nation has grown and changed during this time period, and this is expected to continue,
and in fact accelerate, for several reasons. Population and economic growth, and the continuous
trend over the last 20 years towards urbanization, are driving congestion and demand in major
metropolitan areas and the corridors that connect them. In particular, the millennial generation,
set to become the majority of the U.S. population this year, is changing the overall travel land-
scape with their preference for ﬂexibility, constant connectedness, and aﬀordability. While
highways and air capacity is limited and performance is likely to get worse for these modes, in-
tercity passenger rail can help provide a solution for these future travel demands. This pressure
appears to be inevitable.

It is projected that the nation’s population will grow to between 400 million and 450 million
by 2050. It is anticipated that much of this growth will be in urban areas. We have already seen
this growth trend begin in the twentieth century; for example, the population of rural America
has stayed relatively ﬂat, but the urban population has exploded during this same, increasing
as a percentage of the total population from 45.6% in 1910 to 80.7% in 2010. To be clear, this urban
growth is not limited to the northeast; it is actually happening at higher rates in metro areas out-
side the Northeast like the south, mountain west and west.

Unfortunately, many of these “megaregions” are underserved by intercity passenger rail. Just
look at a map and you can see glaring gaps in Amtrak service to cities like Atlanta, Houston,
Dallas, Orlando and Tampa, Denver, Salt Lake City, Las Vegas, Phoenix, Nashville, Austin,
Cincinnati, New Orleans, and Birmingham. While some of cities are served by Amtrak, they only
receive daily or tri-weekly service as part of our Long Distance network. These trains can only
provide limited utility connecting such major population centers to adjacent cities and towns
within intercity passenger rail’s “sweet spot” of 400 mile corridors or less because of the limited




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frequencies, often uncompetitive trips time, and very poor on-time performance, which only av-
erage 50%, owning to poor performance over many of our host freight railroads. The demand
is clearly there for additional short corridor service throughout the U.S, which includes both ad-
ditional frequencies for existing routes and establishing new routes between city pairs.

This is reinforced when you look at where Amtrak is most successful today. Approximately 85%
of Amtrak’s ridership comes from the top 100 metro areas. Further, approximately 96% of Amtrak
trips are less than 750 miles in length. In fact, the vast majority of our riders’ trips are less than
250 miles. The present network simply does not ﬁt the future.

I mention this because in order for Amtrak to grow corridor service and better serve the nation,
we must confront several challenges head on. First, investment in infrastructure, equipment,
and stations, similar to what has been discussed today, is critical to growth of intercity passenger
rail. Second, the current process of negotiation with our host railroads has often made it very
diﬃcult for Amtrak to add frequencies and new routes; this too must be addressed if passenger
rail is to respond to the growing demand. The reauthorization of the Fixing America’s Surface
Transportation (FAST) Act creates both the opportunity and the necessity to rethink the role of in-
tercity passenger rail in the national network. We want a strong partnership with Congress
and other stakeholders and later this year Amtrak plans to propose a comprehensive reauthori-
zation proposal for your committee to consider. Together, there is a bright future ahead
for intercity passenger rail in the Unites States.

Now, as America needs more from its rails than ever before, I need you to consider these struc-
tures, to grasp their necessity, to learn their limitations, and to work with us to envision a new
generation of infrastructure that will serve the country for future generations.

Having tried to convey the importance of this topic, let me shift to a review of the sorts of assets
Amtrak requires to fulﬁll its mission. When railroaders speak of infrastructure, we usually in-
clude three categories in that term: ﬁxed assets like bridges, tunnels, and our rights of way; rolling
stock made up of our locomotives, passenger cars, and trainsets; and our stations. For many out-
side of our industry, ﬁxed assets are the most easily understood category, so I will start there.

FIXED-ASSET INFRASTRUCTURE

Amtrak owns and/or manages infrastructure nationwide with an estimated replacement value
of $75.6 billion. Amtrak owns and operates 363 route-miles (or 1,169 “track-miles”) of main line
infrastructure on the NEC main line connecting Washington, D.C.; Philadelphia, Pennsylvania;
New York, New York; and up to the Massachusetts/ Rhode Island border. Amtrak also owns
branch lines of the NEC, is the responsible infrastructure manager for long term leased infrastruc-
ture on the Empire Line, and Amtrak is also responsible for track infrastructure assets nationwide,


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including the segment between Porter, Indiana and Kalamazoo, Michigan; in Hialeah, Florida,
and yard tracks and sidings in cities across the country.

This portfolio of assets has served the region and the country well. Nonetheless, Amtrak’s fund-
ing levels over the years has never been suﬃcient to address all of the capital needs that come
along with a physical plant that is in many places at or beyond its useful economic life. Congress
took an important step in addressing this chronic shortfall with the Passenger Rail Investment
and Improvement Act of 2008 (PRIIA). Section 212 of that legislation established the Northeast
Corridor Commission and charged it with developing a formula to allocate NEC capital and op-
erating costs based on usage, making recommendations to Congress, and facilitating
collaborative planning. The Commission is made up of 18 members, including representatives
from each of the eight NEC states, the District of Columbia, Amtrak, and the USDOT. Amtrak,
states, and commuter railroads will contribute approximately $3.1 billion over the next ﬁve years
through the NEC Commuter and Intercity Rail Cost Allocation Policy, helping create a reliable
source of funding for the capital renewal of basic infrastructure assets. The NEC has hundreds
of miles of aging track bed, hundreds of century-old small bridges, over a dozen century-old ma-
jor bridges and tunnels, and power supply and signal systems that still rely on 1930s technology.

Unfortunately, Amtrak and the states alone do not have the funds to reduce the NEC state of good
repair (SOGR) backlog, let alone address many of the major projects that are so critical to the re-
gion and the nation. Simply put, these infrastructure projects are perfect examples of why
we cannot wait to invest in our infrastructure.

Portal North Bridge

The century-old Portal Bridge is a two-track swing bridge over the Hackensack River
in New Jersey that rotates open for maritime traﬃc several times per month. 450 trains cross
the bridge as they travel between Newark, New Jersey, and New York Penn Station every day.
The bridge is a major bottleneck and source of delay for Amtrak and NJ Transit (NJT) trains –
the aging mechanical and electrical components sometimes malfunction while opening and clos-
ing, causing a cascade of delays. It carries more passenger trains than any other rail bridge
in the Western hemisphere.

The Pennsylvania Railroad constructed Portal Bridge in 1907 and began revenue operations
in November 1910. The bridge earned the name “Portal,” because it leads the NEC rail line
to the “portal” of the North River Tunnel, located just three miles away. It consists of seven spans
and totals 960 feet in length. The middle span is 300 feet long and pivots to open for marine traﬃc.




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The swing span and special “miter rail” conﬁguration pose maintenance and operational chal-
lenges. Due to age and fragility, trains are restricted to a maximum of 60 miles per hour over
the bridge. Only 23 feet of clearance separate the Hackensack River and the bottom of the bridge.

Fully designed and permitted, early construction work on this project began in the summer
of 2017. This work is funded by a Transportation Investment Generating Economic Recovery
(TIGER) grant to NJT and includes the realignment of two 138kV transmission poles, the instal-
lation of new ﬁber optic cable poles, the installation of a construction access structure known
as a ﬁnger pier, a steel bridge structure over the Jersey City Municipal Utility Authority water
main, and a retaining wall just west of the Frank R. Lautenberg Station at Secaucus Junction.

Funding for approximately 50% of the estimated project cost has been committed by funding
partners Amtrak and NJT including up to $600 million of bond proceeds by the State
of New Jersey. The project was accepted into the Federal Transit Administration’s Capital Invest-
ment Grant (CIG) Project Development pipeline in July 2016. Construction of this nationally
signiﬁcant project can start as soon as a federal ﬁnancial commitment is in place. The new Portal
North Bridge is estimated to cost approximately $1.6 billion. A ﬁnancial plan and request to enter
the next phase of the CIG process have been submitted to the U.S. Department of Transportation,
so construction can proceed as soon as possible.

Hudson Tunnel Project

The Hudson Tunnel Project is intended to preserve the current functionality of Amtrak’s NEC
service and NJT’s commuter rail service between New Jersey and New York Penn Station by re-
pairing the existing North River Tunnel. It will also strengthen the NEC’s resiliency and ability
to support reliable service by providing redundant capacity under the Hudson River for Amtrak
and NJT trains. These improvements must be achieved while maintaining uninterrupted com-
muter and intercity rail service and by optimizing the use of existing infrastructure. The project
involves design and construction of a new rail tunnel under the Hudson River as well as the re-
habilitation and modernization of the existing 108-year-old North River Tunnel.

The roughly 10-mile section of the NEC between Newark, New Jersey, and New York Penn
Station is the busiest stretch of railroad in North America. Every day, 450 trains carry passengers
making 200,000 intercity and commuter rail trips over just two tracks that cross the century-old
Portal Bridge and traverse the North River Tunnel en route to a space-constrained New York Penn
Station. In October 2012, Super Storm Sandy signiﬁcantly damaged the North River Tunnel when
both tubes (each containing one track) were inundated with millions of gallons of brackish sea
water. The water was pumped out, but salts and chemicals left behind continue to degrade sys-
tems including the track structure and the concrete bench walls that line both sides of the tunnels.



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Through these bench walls pass critical high-voltage cables and other infrastructure that powers
NEC trains and the New York Penn Station terminal complex.

While the existing tunnel is safe for use, certain elements of tunnel infrastructure remain in poor
condition as a result of the storm damage and have required emergency maintenance that dis-
rupts service for hundreds of thousands of rail passengers throughout the region. Despite
ongoing maintenance, the damage can only be addressed through a comprehensive reconstruc-
tion of the tunnel.

The beneﬁts of completing this project are immense – it will preserve existing NEC service, im-
prove reliability, add resiliency and system redundancy, and oﬀer substantial environmental
beneﬁts. Not tackling this project invites disaster. A closure of just one tube of the North River
Tunnel could reduce capacity by as much as 75% and force tens of thousands of commuters
and travelers onto already congested bridges, tunnels, and highways in both New York City
and New Jersey. The resulting congestion would lead to degradation of air quality throughout
the region. The movement of people and goods to and from the nation’s largest regional economy
would be severely constrained, putting 10% of America’s gross domestic product at risk.

Prior to issuing funding for the Hudson Tunnel Project, the Federal Railroad Administration
(FRA) must consider the environmental eﬀects of the Project in accordance with the National
Environmental Policy Act (NEPA). On behalf of the local partners, NJT prepared and submitted
an Environmental Impact Statement (EIS) to evaluate the Hudson Tunnel Project. Amtrak, in part-
nership with the PANYNJ, is conducting the preliminary engineering.

Work on the EIS was completed by the local partners on an accelerated 24-month schedule,
roughly half the time a project of this magnitude would normally require. The EIS has been under
review by FRA and USDOT since February 2018. A Record of Decision (ROD) is required to move
the project forward and meet the project schedule.

In June 2018, as the 24-month period for advancing through the Project Development phase
of the CIG process was ending, the PANYNJ transmitted a letter to the Federal Transit Agency
(FTA) in which it reaffirmed the $5.5 billion in financial commitments by the Project Partners and as-
sumed the role of NEPA Project Sponsor. The Final EIS/ROD is the next needed element to advance
through the CIG process. While it was originally on track for completion in March 2018, it is cur-
rently still pending. An updated draft of the Final EIS was transmitted to FRA in December 2018
and remains under review with no additional timeline given.




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East River Tunnel

The East River Tunnel (ERT) is actually made up of four single-track tubes that extend from
the eastern end of New York Penn Station under 32nd and 33rd Streets in Manhattan and cross
the East River to Long Island City in Queens. The tracks carry Long Island Rail Road (LIRR),
which make up 72% of the 810 trains that move through them daily, Amtrak trains travelling
to and from New York Penn Station and points to the north and east (17%), and out-of-service
NJT trains moving to and from Sunnyside Yard (11%).

Following the inundation caused by Hurricane Sandy, Amtrak has conducted through analyses
to ascertain the tunnels’ conditions. While some cracks pre-dated the storm, the urgency has ac-
celerated post-Sandy as corrosion (and the associated steel expansion) likely increased due
to saturation of various structural elements. Accordingly, the Final Design phase includes a spe-
ciﬁc Task for the prioritization and design of intermediate repairs that can be implemented
as needed between now and the full reconstruction outages to maintain safe operating conditions
within the tunnels. The FRA and Amtrak inspection personnel are eager to resolve the spalling
concrete, leaks, and deﬂecting splice chambers within the ERT, which are in all likelihood con-
tributing to increased electrical or signal system faults.

The scope of the full reconstruction will include demolishing all interior components and systems
of ERT 1 and 2 down to the concrete liner and rebuilding with modern electric traction, signals,
and security systems, Direct Fixation Track, improved drainage, and a one-high-one-low
benchwall layout for improved egress and equipment access. This approach will improve safety,
reliability, and resiliency by creating a modernized egress path, maintaining dryer conditions
within the trackbed, and moving critical equipment out of the tunnels.

Preliminary Design was initiated in Spring 2015 and culminated in a 30% Design Milestone
in November 2016. The Final Design Notice to Proceed (NTP) was issued on July 31, 2017 and de-
sign will continue into early 2020, contingent upon receiving the important required outages
for engineering observations, geodetic survey, LiDAR 3D-scanning, and material sampling that
are essential to enable the design to progress. While tunnel track and station outages are always
in demand for ongoing inspections, regular and emergency maintenance, and an increasing num-
ber of impacting projects and development, this project is a high priority for Amtrak
and the region. Intermediate deliverables have already begun with a Value Engineering Work-
shop and Report. A Draft Repair Prioritization Report is expected in October to guide Amtrak
on the priority and design of near-term repairs that can be implemented on an as-needed basis
up to the time of full reconstruction. The cost of Final Design is approximately $20 million, in ad-
dition to the $3.25 million that has already been spent to date on Preliminary Engineering.




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The timing for these critical full-tunnel outages is under study by a Tri-Venture group consisting
of Amtrak, LIRR, and NJT. Operations analyses are ongoing to evaluate the required level
of schedule modiﬁcations for each carrier under various scenarios that mostly involve interaction
with the East Side Access Project. Outage durations for ERT 1 and 2 are estimated at roughly two
years each, excluding preparatory work.

The latest cost estimate for the tunnel repair project is over $1 billion, depending on a variety
of factors including when the project commences.

Baltimore &Potomac Tunnel Replacement

The Baltimore & Potomac (B&P) Tunnel is a two-track railroad tunnel running beneath central
Baltimore City between Baltimore Penn Station and the West Baltimore Maryland Area Regional
Commuter (MARC) station. This busy section of the NEC is used by Amtrak and MARC passen-
ger trains, as well as Norfolk Southern Railway (NS) freight trains.

Built just after the Civil War in 1873, the B&P Tunnel is among the oldest infrastructure along
the NEC. Due to its age, the tunnel is approaching the end of its useful life. Its obsolete design
creates a low-speed bottleneck on this high traﬃc section of the NEC. Both the constriction of tun-
nel volume from four tracks to two tracks, as well as the tunnel’s tight curvature, require trains
to reduce speeds to 30 miles per hour, placing limitations on all train traﬃc. The tunnel requires
replacement or will have to be taken out of service for signiﬁcant rehabilitation to extend its useful
life. Any closure of the tunnel will greatly jeopardize the intercity, commuter and freight rail traf-
ﬁc that relies upon the tunnel to move people and goods throughout the region.

The B&P Tunnel system is approximately 1.4 miles long and is comprised of three shorter tunnels:
the John Street Tunnel, the Wilson Street Tunnel; and the Gilmor Street Tunnel. The narrow, sin-
gle-bored, double-track tunnel was originally constructed out of brick and stone masonry, though
repairs have added additional building materials over time. Electriﬁcation was added
in the 1930s, and the tunnel was rehabilitated in the 1980s. That work was not intended as a per-
manent ﬁx and continuously increasing maintenance is required to address water inﬁltration
and masonry repairs on the aging structure.

The B&P Tunnel Project will improve service reliability and help make Amtrak and MARC less sus-
ceptible to maintenance-related delays. Its aging condition has resulted in increased maintenance
needs. One such example is the high saturation of water in the soil beneath the tunnel; this causes
the tunnel’s aging floor slabs to slowly sink, forcing Amtrak to make repeated repairs. Amtrak per-
forms thorough inspections and vigilant maintenance to ensure ongoing safety standards.




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The existing tunnel does not provide suﬃcient capacity to meet projected passenger and freight
rail demand through 2040 and beyond. When completed, this project will create new capacity
to support additional Amtrak, MARC, and freight operations. New tunnels could free the existing
tunnels for renewal and other uses.

The existing tunnel is not suited for modern high-speed train operations due to tight clearances
and sharp curves, which limit train speeds. Replacement of the B&P Tunnel will allow for in-
creased speeds through the Baltimore region. This improvement would contribute to unlocking
the current bottleneck which now impedes operations along the most heavily traveled rail line
in the country.

The FRA, Maryland Department of Transportation (MDOT), City of Baltimore and Amtrak have
cooperated on an EIS for a replacement tunnel as required by the NEPA.

Funding is now needed to reﬁne and ﬁnish design and start construction of the approximately
$5 billion new tunnel system. Funding will be pursued through a combination of USDOT grant
programs, funding for Amtrak, and local matches.

Susquehanna River Bridge

Amtrak’s existing two-track Susquehanna River Bridge crosses the Susquehanna River between
the City of Havre de Grace and the Town of Perryville in Maryland—roughly mid-way between
Wilmington, Delaware and Baltimore, Maryland. The highly-used bridge serves Amtrak, MARC,
and NS to carry passenger and freight trains across the Susquehanna River.

Owned by Amtrak, the Susquehanna River Bridge is the longest moveable bridge on the NEC
and is a critical link for intercity, commuter, and freight connectivity in the Mid-Atlantic. Built
in 1906, the bridge is approaching the end of its service life and will need to be replaced
with a new structure to maintain future rail services across the Susquehanna River. The age
of the bridge and its constriction from four to two tracks limits the speed and number of trains
that can use the bridge. The replacement of the Susquehanna River Bridge is necessary to preserve
reliability and allow the future expansion of both commuter and intercity service. The project will
also signiﬁcantly improve the navigation channel for maritime users.

The Susquehanna River Bridge was constructed in 1906 as a 4,000 foot multi-span truss bridge.
The limited number of tracks across the river, combined with the wide variety of trains utilizing
the bridge and the need for continual maintenance, results in tightly managed and restrictive
operations. While regular, major repairs have occurred on the bridge since the 1960s, few repairs
and/or inspections can be made without disrupting rail operations. The existing bridge’s movable
swing span causes train delays when opening is required for marine traﬃc, and large crews are



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needed to operate the span because work must be done quickly. Each bridge opening introduces
risks of signiﬁcant train delays if a breakdown of the operating mechanisms were to occur.

In addition to passenger rail, the bridge provides critical freight connectivity to the Ports
of Baltimore, Maryland and Wilmington, Delaware, moving manufacturing, agricultural and raw
materials throughout the region, nation and around the globe.

The beneﬁts of pursuing this project are similar to the other projects discussed today – more reli-
able, ﬂexible, and faster service, expansion of future freight, commuter, intercity, and high-speed
rail operations, improved maritime navigation and safety, and enhanced trade connectivity
for economic growth.

With signiﬁcant growth in passenger and freight rail service expected by 2040, the replacement
bridge is being designed to accommodate future capacity needs. The new bridge design includes
two new high-level, ﬁxed bridges with a total of four tracks – doubling capacity compared
to the current two tracks.

One of the new bridges would be built primarily to serve high-speed trains operating at speeds
up to 160 miles per hour. With 60 feet of vertical clearance, the new ﬁxed bridges will support
better maritime uses along the river by maintaining navigation and eliminating the need to open
and close for tall vessels.

Amtrak, the FRA, and MDOT have cooperated on an Environmental Assessment (EA) for a new
replacement bridge, as required by the NEPA.

Funding is now needed to ﬁnish design and construct the estimated $1.7 billion new bridge.
Funding will be pursued through a combination of federal grant programs, funding
from Amtrak, and other state and local matches.

ROLLING STOCK

Amtrak’s equipment includes the railroad’s ﬂeet of passenger locomotives, railcars, and trainsets.
The equipment is used to carry customers on the railroad’s three intercity rail passenger service
lines: Northeast Corridor, State Supported, and Long Distance. A signiﬁcant portion of Amtrak’s
ﬂeet is at or nearing the end of its useful service life.

As of late 2018, the active ﬂeet includes some 262 road diesel locomotives, 66 electric locomotives,
1,408 passenger cars, and 20 high-speed trainsets. Additionally, Amtrak and various state part-
ners own ﬂeets of seven Talgo trainsets and 49 Alstom Surﬂiner railcars, with Amtrak owning
29 Talgo car equivalents and 39 Surﬂiner cars. Amtrak operates an additional 196 locomotives
and railcars owned wholly by state partners.


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With the railcar ﬂeet averaging nearly 33 years of age, diesel locomotives averaging nearly
21 years of age, and a long lead-time to procure any replacement units, Amtrak is focused
on the continued modernization of its passenger car, locomotive, and trainset ﬂeets. Railcars
in North American mainline passenger service typically have a service life between 30 to 50 years.
Road diesel locomotives typically have a shorter lifespan than railcars, as do high-speed trainsets.
Where exceptions to such average lifespans exist, it is because equipment is rebuilt at considera-
ble expense and/or the equipment accrues fewer annual miles than most Amtrak equipment.

Amtrak plans to build upon our recent re-ﬂeeting eﬀorts to launch and/or complete nine major
ﬂeet initiatives to modernize Amtrak’s passenger car, trainset, and locomotive ﬂeets, which will
largely feature replacement of most locomotives and railcars in Amtrak service today. Descrip-
tions of each of the eﬀorts follow, although more detailed explanations of all of them can be found
in Amtrak’s Five-Year Equipment Asset Line Plan.

New Acela Trainsets

First, as Acela Express nears its twentieth anniversary of service, replacement has become neces-
sary for the ﬂeet. Worldwide, high-speed trainset ﬂeets typically have shorter service lives than
conventional equipment. Further compounding the need for replacement is the insuﬃcient ca-
pacity available on Acela Express on peak trips. In FY2016 Amtrak placed an order with Alstom
for 28 Avelia Liberty trainsets to replace the existing Acela Express ﬂeet while expanding capacity
to meet future demand. Twenty Acela Express trainsets with 304 seats each will be retired when
the 28 new trainsets with 380 seats each arrive, most in FY2021-FY2022. The additional sets allow
for additional frequencies, including hourly New York-Boston service and half-hourly New York-
Washington service during peak periods. The Alstom Avelia platform is a proven design cur-
rently operating in France and Italy, among other countries.

New Diesel Locomotives

Second, Amtrak’s ﬂeet of 200 P40 and P42 locomotives, currently used on all Long Distance routes
and most State-Supported routes, is rapidly approaching the end of its useful life. Additionally,
the units were ordered before the Environmental Protection Agency (EPA) impose’d locomotive
emissions standards and are non-compliant with modern emissions standards. Amtrak has
launched its own process for acquiring new diesel locomotives to replace the P40/P42 ﬂeet
and following a request for proposal (RFP), on December 20, 2018 announced the contract award
to Siemens for a base order of 75 Charger locomotives for Long Distance routes, plus additional
options to permit order growth to address the long-term needs of the network pending
Congress’s reauthorization of Amtrak in FY2020 and the completion of the Amﬂeet I procure-
ments described below, which could inﬂuence locomotive quantity requirements. Factors that



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will impact the speciﬁc quantity of locomotives required are discussed in more detail in our Five-
year Equipment Asset Line Plan.

Replacement of Amﬂeet I

Third, Amtrak’s 457 active Amﬂeet I cars and 16 ex-Metroliner cab control coaches that support
our Northeast Regional trains and many State Supported services are at the end of their commercial
and useful service lives. In FY2018 Amtrak launched an Amﬂeet replacement RFI. To survey
the greatest possible number of qualiﬁed vendors, technologies, and products in the global mar-
ketplace, Amtrak has expressed interest in solutions including, dual-powered, diesel or electric
multiple units MUs), unpowered trainsets, and single cars. While Amtrak’s current ﬂeet is mostly
made up of individual railcars today, the global marketplace for intercity corridor rail passenger
equipment since the 1970s has shifted towards trainsets with cabs at both ends, which eliminate
the need to loop or wye equipment between trips. Amtrak’s RFI was designed to determine how
the railroad can best tap into this global marketplace of products and expertise. Amtrak issued
an RFP for Amﬂeet I replacement equipment on January 18, 2019, using information learned
from the RFI process and a performance-based speciﬁcation developed by Amtrak and other
stakeholders. Amtrak plans to make a contract award for base orders of one or more equipment
solutions to replace Amﬂeet I and ex-Metroliner equipment, with options for additional ﬂeet ex-
pansion in FY2019. Deliveries of Amﬂeet I replacement units will likely occur during the early-
to-mid 2020s, following deliveries of Avelia Liberty high-speed trainsets. As part of this procure-
ment, one of the most signiﬁcant service improvements that Amtrak is seeking from re-ﬂeeting
is the elimination of engine changes for trains which travel on both the NEC and State-Supported
routes. Should Amtrak obtain a dual-power capability for through trains between the NEC
and state corridors, Amtrak would realize several beneﬁts, including scheduled trip times reduc-
tions of 15 to 30 minutes (a reduction that would cost billions to achieve through right-of-way
improvements), a decrease in locomotive movements and platform capacity utilization in busy
terminals, an increase in on-time performance as the delay risk of locomotive changes was elimi-
nated, and passengers would not lose lighting, climate control, or working toilets during engine
changes. This more-attractive service would be less labor-intensive, needing less mechanical
and yard-to-station transportation work and less total travel time which train crews must work
to complete a given trip. At this time, some 20 train consists switch between diesel and electric
power each day on the aﬀected routes, which translates into a need for approximately 25 new
trainsets or dual power locomotives (including spare ratios) to convert existing through trains
to dual power. The plans of Amtrak’s state partners Virginia and North Carolina to expand
through service from the NEC to their respective state corridors would beneﬁt from additional
dual power consists. The dual power method chosen, and base and options quantities of dual
powered equipment purchases, will be determined during FY2019 as part of Amtrak’s review



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of Amﬂeet replacement RFP responses and selection of a technology, and with the concurrence
of relevant state partners. Dual power operations may commence by the mid-2020s along the af-
fected routes.

Multilevel Fleet

Fourth, Amtrak currently operates a multilevel fleet of 242 Superliner I railcars built in 1979-1981
and 184 Superliner II cars built in the mid-1990s. These cars are used primarily on western Long
Distance trains and on a few state corridors. Additionally, Amtrak operates a fleet of 49 Surfliner
cars built around 2000 that is jointly owned by Amtrak and Caltrans and used exclusively
on the Pacific Surfliner. Amtrak’s California state partners also own 78 California I and II railcars
that were built between 1993 and 2001; these cars are used exclusively on California state corridors.
As this fleet is insufficient for current services, let alone future growth, Amtrak Superliners,
Horizon/Amfleet equipment, and Comet IB railcars Caltrans acquired from NJT are also currently
used to meet California state corridor service needs. California has seven Siemens Viaggio trainsets
on order for use on the San Joaquin corridor but will need additional equipment to meet planned
California state corridor growth in the coming decade. As a result of the age profile of Amtrak
and California’s multilevel fleets, a “sweet spot” appears between FY2026 and FY2031 for an opti-
mally timed multilevel railcar replacement acquisition to standardize, modernize, and expand
equipment on current multilevel routes. Such a procurement process would need to be begun early
in the next decade and a key topic for the next Federal reauthorization of Amtrak is the future
of the Long Distance routes that use this equipment. Congress will need to make decisions about
the long-term prospects of these routes and provide sufficient associated funding levels so that
Amtrak can procure appropriate types and quantities of this custom rolling stock.

Single-Level Long Distance Coaches

Fifth, while the current acquisition process focuses initially on the replacement of the Amﬂeet I
and ex-Metroliner car ﬂeets, Amtrak also has a smaller ﬂeet of 139 active Amﬂeet II railcars that
is also approaching the end of its useful service life. Built in the early 1980s, Amﬂeet II railcars are
primarily used on Long Distance routes originating at clearance-constrained New York Penn
Station and also on a few state corridor routes. Amﬂeet II replacements may either be procured
as options to the Amﬂeet I replacement procurement, or as a later separate procurement, depend-
ing on the Amﬂeet I replacement product chosen.

Refresh and Reconﬁguration

Sixth, Amtrak moved rapidly in FY2018 to refresh its Amﬂeet I and Acela Express ﬂeets with new
seat cushions, carpeting, lighting, and other passenger-facing features to help modernize passen-
gers’ experiences on board. Even with the signiﬁcant and wholesale replacements of many car


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ﬂeets recommended in this plan, equipment in additional car ﬂeets will require refresh, and some
car ﬂeets will require a more comprehensive reconﬁguration in order to provide a consistent,
modern passenger experience. Amtrak intends that such refresh and reconﬁguration work will
continue, particularly for the following ﬂeets: Amﬂeet II coaches to be refreshed in a manner sim-
ilar to Amﬂeet I upgrades; Superliner I and II coaches and sleeping cars need refreshed passenger
seating, light emitting diode (LED) lighting, and surfaces, while restrooms and plumbing systems
may require more substantial work; and Horizon cars in a program similar in scope to Amﬂeet I,
with a focus on carpet and seat appearance.

Mechanical Facilities

Seventh, in the 35-40 years since Amﬂeets and Superliners were procured, many global rolling
stock manufacturers have entered the market to service and maintain their manufactured ﬂeets.
Amtrak has taken advantage of original equipment manufacturer (OEM) expertise in the mainte-
nance of Acela Express and has expanded the use of such capabilities to the ACS-64
and forthcoming Siemens Charger locomotives through Technical Services and Spares Supply
Agreements (TSSSAs). In addition, Amtrak has signed a contract with OEM General Electric to re-
place most overhauls with Lifecycle Preventive Maintenance (LCPM) on the P40/P42 locomotive
ﬂeets. Further ﬂeet procurements will likely continue this trend. As Amtrak moves further away
from traditional heavy overhauls and towards smaller, more frequent component changes
with increased vendor participation in maintenance, Amtrak’s needs regarding back shops
and terminal facilities will change. Amtrak currently operates three major back shops where
heavy overhauls and restoration of damaged equipment occur: Wilmington, Delaware, which
specializes in locomotives; Bear, Delaware, which specializes in Amﬂeet equipment; and Beech
Grove, Indiana, which specializes in oﬀ-NEC equipment. With the wholesale re-ﬂeeting
of Amtrak over the next decade, a cross-functional team will examine Amtrak’s future mechanical
facility and terminal needs following re-ﬂeeting and the expanded use of TSSSAs and LCPM.

The cost of outstanding ﬂeet acquisitions will be signiﬁcant and could approach some $3.5 billion
through FY2024. This ﬁgure includes both Amtrak’s cost of acquisitions and the full anticipated
costs allocable to state partners under the PRIIA 209 Methodology that governs Amtrak and state
cost sharing on State-Supported routes. It also includes some $525.1 million in non-passenger
ﬂeet acquisition expenses, such as track inspection and maintenance equipment.

In addition, Amtrak must secure funding to pay for its upcoming orders of locomotive options,
Amﬂeet I replacement equipment, and single- and multi-level State Supported and Long Distance
ﬂeet replacement. While the exact quantities and product types chosen for Amﬂeet I and multi-
level re-ﬂeeting are still under development, Amtrak believes that the replacement of existing
Amﬂeet equipment alone could approach some $1.4 billion through FY2024. Amtrak expects



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that a signiﬁcant portion, to be determined, of the cost of the Amﬂeet I replacement equipment
will be reimbursed to Amtrak by its state partners.

Beyond FY2024, Amtrak estimates that an additional $1.0-1.5 billion may be necessary to com-
plete the replacement of Amﬂeet I and Superliner I equipment and any related diesel locomotive
options necessary to support such procurements, with costs to be allocated between Amtrak
and its state partners. The costs of work necessary to convert mechanical facilities to support
trainsets; replace Amﬂeet II and Superliner II ﬂeets; and acquire additional equipment in to-be-
determined quantities for service expansion have not yet been determined but will be included
in future ﬁve-year plans.

Amtrak must also continue to perform necessary work on its existing ﬂeet of locomotives and rail-
cars until they are retired. To that end, Amtrak anticipates completing some 2,089 car
and locomotive unit overhauls through the end of FY2024, at an estimated cost of some $1.380 bil-
lion; a large portion of which will be reimbursed by Amtrak state partners under the PRIIA 209
Equipment Capital Use Charge.

STATIONS

The Amtrak network is currently made up of over 500 stations across 46 states, the District
of Columbia, and three Canadian provinces. Each station is unique to the community served,
spanning small towns to the nation’s largest metropolitan areas, and provides the point of entry,
resources and support to Amtrak’s Northeast Corridor and National Network services, along
with other transportation service. Amtrak is investing in critical projects that will enhance
the passenger experience, sustain the national passenger network, provide much-needed addi-
tional capacity and improve reliability and safety.

Amtrak is the owner and manager of a nationwide portfolio of assets including over eight million
square feet of station and maintenance facilities and ﬁve of our top 10 busiest stations. The asset
portfolio is aging, suﬀers from decades of deterioration and needs modernization to meet grow-
ing   demands.     Despite   these    challenges,     Amtrak’s   stations   are   community     hubs
and the surrounding markets present opportunities to extract value from our assets from com-
mercial real estate development or partnerships with area institutions and the private sector.

At the ﬁve Amtrak-owned stations with the highest ridership (Major Stations) – New York Penn
Station (#1 in ridership), Washington Union Station (#2), Philadelphia William H. Gray III
30th Street Station (#3) (Philadelphia 30th Street Station), Chicago Union Station (#4), and Baltimore
Penn Station (#8), Amtrak has commenced Major Station Asset Development Programs. In these
major urban markets, the challenges and opportunities facing Amtrak’s asset portfolio are height-
ened. Projected ridership growth and regional economic growth create a substantial


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and increasing demand on Amtrak’s Major Stations that will only exacerbate SOGR needs. How-
ever, there is high potential to attract investment for transit-oriented development that enhances
intermodal connections and integrates stations with surrounding neighborhoods to create an ex-
ceptional station experience, one which will retain and grow a loyal customer base.

Between now and FY2024, we plan to spend more than $1.8 billion on stations. This includes
safety and mandates ($554.3 million), normalized replacement ($277.4 million), major backlog
($86.7 million), and improvements ($953.9 million). A large portion of the capital investments are
directed towards major facilities that Amtrak owns. Work at many stations and facilities falls
within more than one of these categories. While Amtrak is making good progress and has a strong
ﬁve-year plan to invest in its stations, the needs far outweigh the available resources. Let me de-
scribe some of the major projects Amtrak is working to advance.

New York Penn Station

New York Penn Station is the busiest rail station in America and by far the most important
in Amtrak’s national intercity network. Amtrak leases space in the station to the LIRR and NJT,
two of the nation’s busiest commuter rail systems for which this facility is also the most important
station. It serves more than 10 million Amtrak passenger trips annually, as well as over 100 mil-
lion LIRR and NJT passenger trips. New York Penn Station accounts for more than $1 billion
annually in Amtrak passenger revenue. These revenue and ridership totals are double those
of any other station in the Amtrak network.

New York Penn Station’s physical plant sees very heavy utilization, hosting about 1,300 daily
trains between the three railroads and about 650,000 daily rail and subway passenger trips. Yet
the station’s passenger amenities, core capacity, track, platform, and vertical circulation were not
designed for these high volumes and have not been substantially expanded as volumes have in-
creased over the years. Its limited capacity and lack of long-term strategic planning
and investment have limited Amtrak’s opportunities to sustain ridership and revenue growth
and has left key components of New York Penn Station’s infrastructure in a state of disrepair.

Even with today’s crowded conditions, New York Penn Station ridership is increasing and is pro-
jected to expand substantially by 2040. Increased passenger volumes will further stress the
station’s inadequate capacity on concourses and for customer circulation, retail, and back-of-
house facilities. Amtrak is continuing a series of short-term, customer-focused capital improve-
ments; beginning the transformation of station facilities related to the relocation of major Amtrak
passenger-facing and back-of-house services to the Moynihan Train Hall, opening in 2021;
and preparing for an expected master developer solicitation for Penn Station.




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Longer-term, New York Penn Station must be expanded to provide additional tracks and plat-
forms. The track and platform expansion is included in the Gateway Program’s terminal
expansion phase.

Baltimore Penn Station

The multi-year development and SOGR program addresses critical structural and building sys-
tem repairs (including roof and building envelope); improves the customer experience
with improvements to amenities, better ADA access and security; ensure capacity for ridership
growth; and facilitates development of Amtrak-owned real estate assets at and near the station.
Amtrak designated Penn Station Partners (PSP) in November 2017 as its master developer partner
to implement the program. The scope of the master development project includes the creation
of a master plan, critical SOGR of the historic headhouse, commercial development of the upper
vacant ﬂoors of the headhouse, station expansion needed to meet passenger growth, a mixed-use
development of adjacent Amtrak-owned parcels, and ongoing life cycle and asset preservation
maintenance of the headhouse and station expansion areas.

Philadelphia William H. Gray 30th Street Station

The development and SOGR program at Philadelphia 30th Street Station will improve the cus-
tomer experience and make the station future-ready by addressing station modernization
and infrastructure needs while facilitating redevelopment of valuable assets at the station, includ-
ing the retail concourse and oﬃce towers. In June 2016, Amtrak completed a master plan known
as the 30th Street Station District Plan which envisions station improvements that will double
its capacity and improve station amenities and develop 10 million square feet at the station
and above the adjacent rail yards. Amtrak initiated a search for a master developer partner to un-
dertake redevelopment of the station with the release of a request for quotation (RFQ) on May 1,
2018. The master development project, as deﬁned in the RFQ, includes Station modernization
and SOGR improvements, ongoing life cycle and asset preservation maintenance of the station
building, oﬃce redevelopment, retail renovation, and operations and maintenance (O&M) man-
agement as near-term priorities, with concourse expansion and plaza improvements as potential
future phases.

Chicago Union Station Master Plan

The purpose of the multi-year Chicago Union Station Master Plan program (Program) is to ad-
vance near-term improvements to address the most demanding of station capacity, accessibility,
service, and safety issues. This Program is informed by the Chicago Union Station Master Plan,
led by Chicago Department of Transportation (CDOT) in 2012 and was developed further under
the Master Plan Phase 1A work led by Amtrak, with support from CDOT, Metra, and the Regional


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Transportation Authority (RTA) (Project Partners) that has advanced preliminary design
and planning across a suite of projects. The Project Partners are currently working together to es-
tablish a cost-sharing methodology and to identify funding to advance the program to ﬁnal
design.

Washington Union Station

The Washington Union Station Second Century Program will improve SOGR, increase passenger
and rail capacity, improve the passenger experience to sustain a loyal, existing customer base
and attract new riders, create a safe and secure facility for all users, and integrate a new air rights
development above the rail terminal at Amtrak's second busiest station. At Washington Union
Station, Amtrak owns the tracks, platforms, and related infrastructure north of the station while
the USDOT is the owner of the station and parking garage, which is managed by the Union Station
Redevelopment Corporation (USRC). Amtrak has a sublease for space in the Claytor Concourse.

In the near term (FY2019 to FY2026), the Second Century Program will redesign and expand pas-
senger concourses, increase capacity, and improve operations in the station. Speciﬁcally, the near-
term work will deliver a modernized and reconﬁgured concourse, improved station support
spaces, as well as address key life safety issues. It will also advance construction of improvements
to tracks and associated infrastructure and support facilities in the rail terminal such as a new
crew base and satellite commissary.

In the longer term (FY2026 and beyond), the Second Century Program will provide for new tracks
and platforms integrated into an expanded station with development above to accommodate fu-
ture demand and capture associated ticket revenues, while also addressing SOGR, accessibility,
and life safety issues. Currently the long-term program is advancing the on-going Union Station
Expansion Project EIS in coordination with the project sponsor, USRC, as well as related studies
for the long-term expansion and reconstruction of the station.

Moynihan Train Hall

The Moynihan Train Hall expands the nation’s busiest train station, New York Penn Station,
across 8th Avenue into the historic James A. Farley Post Oﬃce Building, the major component
of a mixed-use redevelopment of the entire block. The Moynihan Train Hall will oﬀer enhanced
passenger facilities for Amtrak’s Northeast Corridor, State-Supported, and Long Distance travel-
ers in a grand concourse featuring a dramatic sky lit atrium.

Amtrak’s Train Hall program goal is to reinvent the station experience to oﬀer the best in cus-
tomer amenities, technology, and operational eﬃciency. Amtrak’s program includes several
major initiatives: platform ventilation, back of house, ticketed waiting room, Metropolitan



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Lounge, subbasement improvements, construction support, and implementation. Several work
streams have been formed to advance implementation planning including addressing agree-
ments, wayﬁnding and customer information, security and policing, concourse and operations,
engineering, communications and marketing and information technology.

The Moynihan program requires extensive daily collaboration with a broad set of both internal
and external stakeholders across a variety of disciplines on dozens of related initiatives. Amtrak
is providing for the needs of Acela 2021 customers in New York City, Amtrak’s most important
market, while assuring pleasant, reliable, and eﬃcient operations for all customers and employ-
ees. Capital improvements for Moynihan Station are included in the Acela 21 program described
in the following section.

Among the challenges in developing a plan to manage Amtrak’s station assets are: working
with other stakeholders, such as states, cities and host railroads that own many of the stations
we utilize, and state DOTs and commuter agencies that either own or utilize stations served
by Amtrak and have their own service goals; making improvements that align with new Amtrak
guidelines for station aspects such as branding and signage so as to provide consistent and rec-
ognizable products and services; managing station roll-outs of technological updates such
as ticketing and baggage handling upgrades; and coordinating Amtrak station management
plans with our asset development and monetization initiatives.

CONCLUSION

As I hope my testimony makes clear, the United States cannot wait any longer to invest in inter-
city passenger rail; the cost of doing nothing is simply too great for this nation to bear.

Amtrak’s mission, given to us by Congress, is to provide eﬃcient and eﬀective intercity passenger
rail mobility consisting of high-quality service that is trip-time competitive with other travel op-
tions. Our mission is consistent with, and is ultimately dependent upon, suﬃcient investment
in our nation’s infrastructure. Therefore, Amtrak cannot do it on its own; we need Congress
to take action, whether it is through an “infrastructure bill” that increases federal funding into
existing authorized programs or by establishing new federal policies and grant programs through
the forthcoming reauthorization of surface transportation programs. If Congress tackles the chal-
lenges I outlined today, I am conﬁdent Amtrak will provide safe, reliable, convenient,
and comfortable service that will be a “game changer” for Americans across the nation.

I look forward to working with each of you. While the challenges described today are diﬃcult,
they can be overcome. At Amtrak, we owe our customers, and your constituents, nothing less.

Thank you for the opportunity to appear before you today, and I welcome your questions.



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